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                                    UNITED STATES DISTRICT COURT
                                   CENTRAL DISTRICT OF CALIFORNIA
                                      CIVIL MINUTES – GENERAL


Case No.       CV 19-5019-PSG (KSx):                                          Date      01/06/23

Title          RELEVANT GROUP, LLC ET AL V. NOURMAND ET AL


Present: The Honorable              Philip S. Gutierrez, U.S. Chief District Judge

                 W. Hernandez                                                         CourtSmart
                 Deputy Clerk                                                        Court Reporter

        Attorneys Present for Plaintiff(s)                             Attorneys Present for Defendant(s)
                 Susan Leader                                                  Patrick Maloney
                   Dale Bish                                                  Christopher Pelham
                  Ali Rabbani                                                  Elizabeth Schaus
                Charles Talpas                                                    Neil Thakor
                                                                                 James Turken

        Proceedings: FINAL PRETRIAL CONFERENCE

                     The Court, having questioned counsel, continues the trial date to
        January 26, 2023 and allocates a total of 17 trial hours per side. Further, a status
        conference is set for January 20, 2023 at 2:30 p.m.




                                                                                             Time: 1/02




CV-90                                  CIVIL MINUTES - GENERAL                            Initials of Deputy Clerk WH
